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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                  SAN JOSE DIVISION
                                 Judge Edward J. Davila
                                  Courtroom 4 - 5th Floor
                                 Criminal Minute Order
                                                               TIME IN COURT:      47 mins
                                                                          (10:06 -10:53 AM)

Date: August 24, 2015                                      U.S. Probation Officer: N/A
Courtroom Deputy: Elizabeth Garcia                         U.S. Pretrial Services Officer: N/A
Court Reporter: Irene Rodriguez                            Interpreter: N/A

CASE NUMBER: 5:11-cr-00214-EJD
TITLE: USA v. Douglas Stroms York (NC)(P)

Government Attorney(s) present: Brianna Penna, Jeff Schenk
Defendant Attorney(s) present: Graham Archer

PROCEEDINGS: Pretrial Conference

ORDER AFTER HEARING:
Hearing held.
Jury Selection as previously set for August 25, 2015 at 9:00 AM.




P/NP: Present, Not Present                                                            Elizabeth C. Garcia
C/NC: Custody, Not in Custody                                                         Courtroom Deputy
I: Interpreter                                                                            Original: Efiled
                                                                                                     CC:
